Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 1 of 35

JDM 6.28.23
PEB/JK: USAO 2023R00004

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA CRIMINAL NO. JKB-23-36

V. (Conspiracy to Commit Sexual Exploitation
of a Child, 18 U.S.C. § 2251(e); Sexual
JOHN W. BALCH, Exploitation of a Child, 18 U.S.C. § 2251(a);
Coercion and Enticement of a Minor, 18
JANE ELLEN CAMPBELL, U.S.C. § 2422(b); Distribution of Visual
Depictions of Minors Engaged in Sexually
ASHLEY MARIE TIBBS, and Explicit Conduct, 18 U.S.C. § 2252(a)(2) &
2256; Receipt of Child Pornography, 18
AMBER LAUREN RICKETTS U.S.C. § 2252(a)(2); Conspiracy to Commit
Transportation of a Minor, 18 U.S.C.
Defendants. § 2423(e); Transportation of a Minor, 18
U.S.C. § 2423(a); Possession of Child
Pornography, 18 U.S.C. § 2252A(a)(5)(B);
Aiding & Abetting, 18 U.S.C. § 2; Forfeiture,
18 U.S.C. §§ 2253 and 2428)

SECOND SUPERSEDING INDICTMENT

COUNT ONE
(Conspiracy to Commit Sexual Exploitation of a Child)

The Grand Jury for the District of Maryland charges that:

General Allegations

At all times material to this Second Superseding Indictment:

1. JOHN W. BALCH (“BALCH”) was born in 1947, and resided in Jacksonville,
Florida.

2. JANE ELLEN CAMPBELL (“CAMPBELL”) was born in 1988 and resided in
Hagerstown, Maryland.

3. Minor Victim 1, a prepubescent female, was born in 2007, and was 9 year old at all

times relevant to the Second Superseding Indictment.

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 2 of 35

4, From at least 2017 through 2022, BALCH and CAMPBELL communicated on an
internet-based social media platform regarding the exploitation of Minor Victim 1.

5. Beginning no later than January 2017 and continuing through at least in or about
July 2017, BALCH used the internet and email applications to persuade, induce, entice, and coerce
Minor Victim 1 to engage in sexually explicit conduct. During these internet-based
communications, BALCH caused, and attempted to cause, CAMPBELL to produce visual
depictions that depicted Minor Victim | engaged in sexually explicit conduct.

Manner and Means of the Conspiracy

6. It was part of the conspiracy that BALCH paid CAMPBELL to produce sexually
explicit images of Minor Victim 1.

7. It was further part of the conspiracy that BALCH instructed CAMPBELL to send
the images to BALCH using email and the internet.

8. It was further part of the conspiracy that BALCH promised to pay and did pay
money to CAMPBELL in exchange for the files of Minor Victim 1.

9. It was further part of the conspiracy that BALCH instructed CAMPBELL to
encourage Minor Victim | to engage in sexually explicit conduct.

10. It was further part of the conspiracy that CAMPBELL produced images of Minor
Victim 1’s genitals and sent these files via her cellular phone to BALCH who saved them to his
AOL internet-based account associated with the email address “interlaken@aol.com”.

The Charge
11. From on or about January 27, 2017 through on or about July 7, 2017, the

defendants,

JOHN W. BALCH, and
JANE ELLEN CAMPBELL,

conspired and agreed with one another to employ, use, persuade, induce, entice, and coerce any

2
Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 3 of 35

minor to engage in sexually explicit conduct for the purpose of producing visual depictions of such
conduct, knowing and having reason to know that such a visual depiction would be transported
and transmitted using any means and facility of interstate and foreign commerce, said visual
depictions were produced and transmitted using materials that were mailed, shipped, and
transported in interstate and foreign commerce by any means, including by computer, and such
visual depictions have actually been transported and transmitted using any means and facility of

interstate and foreign commerce and in and affecting interstate and foreign commerce, in violation

of 18 U.S.C. § 2251(a).

18 U.S.C. § 2251(e)
Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 4 of 35

COUNT TWO
(Sexual Exploitation of a Child)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs | through 10 of the General Allegations of Count One of this Second
Superseding Indictment are incorporated here.

26 On or about January 29, 2017, in the District of Maryland, the Middle District of
Florida, and elsewhere, the defendant,

JOHN W. BALCH,

knowingly attempted to and did employ, use, persuade, induce, entice, and coerce a prepubescent
minor female to engage in sexually explicit conduct as defined in Title 18, United States Code,
Section 2256(2), for the purpose of producing visual depictions of such conduct, knowing and
having reason to know that such a visual depiction would be transported and transmitted using any
means and facility of interstate and foreign commerce, that is, BALCH asked CAMPBELL to
produce images of Minor Victim 1 engaged in sexually explicit conduct and to send the images to
BALCH using email and the internet.

18 U.S.C. §§ 2251 (a) & 2256
18 U.S.C. §2
Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 5 of 35

COUNT THREE
(Coercion and Enticement)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs | through 10 of the General Allegations of Count One of this Second
Superseding Indictment are incorporated here.

2. On or about January 29, 2017, in the District of Maryland, the Middle District of
Florida, and elsewhere, the defendant,

JOHN W. BALCH,

using any facility and means of interstate and foreign commerce, knowingly attempted to and did
persuade, induce, entice, and coerce Minor Victim 1, who had not attained the age of 18 years, to
engage in any sexual activity for which any person can be charged with a criminal offense, namely,
Maryland Criminal Law § 3-602, sexual offense in the third degree.

18 U.S.C. §§ 2422(b), 2427
18 U.S.C. § 2
Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 6 of 35

COUNT FOUR
(Sexual Exploitation of a Child)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs | through 10 of the General Allegations of Count One of this Second
Superseding Indictment are incorporated here.

2. On or about March 3, 2017, in the District of Maryland, the Middle District of
Florida, and elsewhere, the defendant,

JOHN W. BALCH,

knowingly attempted to and did employ, use, persuade, induce, entice, and coerce a prepubescent
minor female to engage in sexually explicit conduct as defined in Title 18, United States Code,
Section 2256(2), for the purpose of producing visual depictions of such conduct, knowing and
having reason to know that such a visual depiction would be transported and transmitted using any
means and facility of interstate and foreign commerce, that is, BALCH asked CAMPBELL to
produce images of Minor Victim | engaged in sexually explicit conduct and to send the images to
BALCH using email and the internet.

18 U.S.C. §§ 2251(a) & 2256
18 U.S.C. § 2

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 7 of 35

COUNT FIVE
(Sexual Exploitation of a Child)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs | through 10 of the General Allegations of Count One of this Second
Superseding Indictment are incorporated here.

2. On or about July 7, 2017, in the District of Maryland, the Middle District of Florida,
and elsewhere, the defendant,

JOHN W. BALCH, and
JANE ELLEN CAMPBELL,

knowingly attempted to and did employ, use, persuade, induce, entice, and coerce a prepubescent
minor female to engage in sexually explicit conduct as defined in Title 18, United States Code,
Section 2256(2), for the purpose of producing visual depictions of such conduct, and said visual
depictions were produced using materials that were mailed, shipped, and transported in interstate
and foreign commerce by any means, including by computer, that is, a series of 3 image files
depicting the lascivious display of Minor Victim 1|’s exposed genitals, said image files having been
stored in the email account associated with email address “interlaken@aol.com”.

18 U.S.C. § 2251(a) & 2256
18 U.S.C. §2

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 8 of 35

COUNT SIX
(Distribution of Child Pornography)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs | through 10 of the General Allegations of Count One of this Second
Superseding Indictment are incorporated here.

2. On or about July 7, 2017, in the District of Maryland, the Middle District of Florida,
and elsewhere, the defendant,

JANE ELLEN CAMPBELL,

did knowingly distribute any visual depiction using any means and facility of interstate and foreign
commerce, and that had been mailed, shipped and transported in and affecting interstate and
foreign commerce, and which contained materials which had been so mailed, shipped and
transported, by any means including by computer, the production of which involved the use of a
minor engaged in sexually explicit conduct, as defined in Title 18, United States Code, Section
2256(2), and such depiction being of such conduct, that is, CAMPBELL distributed 3 image files
depicting the lascivious display of Minor Victim 1’s exposed genitals.

18 U.S.C. §§ 2252(a)(2) & 2256
18 U.S.C. § 2

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 9 of 35

COUNT SEVEN
(Receipt of Child Pornography)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs | through 10 of the General Allegations of Count One of this Second
Superseding Indictment are incorporated here.

2. On or about July 7, 2017, in the District of Maryland, the Middle District of Florida,
and elsewhere, the defendant,

JOHN W. BALCH,

did knowingly receive any visual depiction using any means and facility of interstate and foreign
commerce, and that had been mailed, shipped and transported in and affecting interstate and
foreign commerce, and which contained materials which had been so mailed, shipped and
transported, by any means including by computer, the production of which involved the use of a
minor engaged in sexually explicit conduct and such depiction being of such conduct, that is, the
BALCH received 3 image files depicting the lascivious display of Minor Victim 1’s exposed

genitals.

18 U.S.C. §§ 2252(a)(2) & 2256
18 U.S.C. § 2

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 10 of 35

COUNT EIGHT
(Conspiracy to Commit Sexual Exploitation of a Child)

The Grand Jury for the District of Maryland further charges that:

General Allegations

At all times material to this Second Superseding Indictment:

Ll. JOHN W. BALCH (“BALCH”) was born in 1947, and resided in Jacksonville,
Florida.

2. ASHLEY MARIE TIBBS (“TIBBS”) was born in 1990 and resided in
Hagerstown, Maryland.

3; Minor Victim 2, a prepubescent male, was born in 2009, and was 11-13 years old
at all times relevant to the Second Superseding Indictment.

4. Minor Victim 3, a prepubescent female, was born in 2019, and was 3 years old at
all times relevant to the Second Superseding Indictment.

5. Minor Victim 4, a prepubescent female, was born in 2017 and was 5 years old at
all times relevant to the Second Superseding Indictment.

6. From at least June 2021 through August 2022, BALCH and TIBBS communicated
using mobile phones, email, and the internet regarding the exploitation of Minor Victim 2, Minor
Victim 3, and Minor Victim 4.

7. Beginning no later than June 2021 and continuing through at least in or about
August 2022, BALCH used a mobile phone, email, and the internet to persuade, induce, entice,
and coerce Minor Victim 2, Minor Victim 3, and Minor Victim 4 to engage in sexually explicit
conduct. During these internet-based communications, BALCH caused, and attempted to cause,
TIBBS to produce visual depictions that depicted Minor Victim 2, Minor Victim 3, and Minor

Victim 4 engaged in sexually explicit conduct.

10

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 11 of 35

Manner and Means of the Conspiracy

8. It was part of the conspiracy that BALCH paid TIBBS to produce sexually explicit
videos of Minor Victim 2, Minor Victim 3, and Minor Victim 4.

9, It was further part of the conspiracy that BALCH instructed TIBBS to send the
videos to BALCH using email and the internet.

10. It was further part of the conspiracy that BALCH promised to pay and did pay
money to TIBBS in exchange for the files of Minor Victim 2, Minor Victim 3, and Minor Victim
4,

11. It was further part of the conspiracy that TIBBS used her mobile phone and email
to solicit payment from BALCH in exchange for producing sexually explicit files of Minor Victim
2, Minor Victim 3, and Minor Victim 4.

12. It was further part of the conspiracy that TIBBS produced videos of a prepubescent
female’s genitals and depicting TIBBS committing various sex acts on the prepubescent female
and TIBBS saved the files on her mobile phone and TIBBS sent some of these files via her mobile
phone to BALCH who saved them on his mobile phone to his AOL internet-based account
associated with the email address “interlaken@aol.com”.

13. It was further part of the conspiracy that TIBBS produced a video of prepubescent
female’s genitals and depicting TIBBS committing sex acts on the prepubescent female and
TIBBS sent the file via her mobile phone to BALCH who saved the file on his mobile phone.

The Charge
14. From on or about June 2021, through on or about August 15, 2022, the defendants

JOHN W. BALCH, and
ASHLEY MARIE TIBBS,

conspired and agreed with one another to employ, use, persuade, induce, entice, and coerce any

minor to engage in sexually explicit conduct for the purpose of producing visual depictions of such

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Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 12 of 35

conduct, knowing and having reason to know that such a visual depiction would be transported
and transmitted using any means and facility of interstate and foreign commerce, said visual
depictions were produced and transmitted using materials that were mailed, shipped, and
transported in interstate and foreign commerce by any means, including by computer, and such
visual depictions have actually been transported and transmitted using any means and facility of

interstate and foreign commerce and in and affecting interstate and foreign commerce, in violation

of 18 U.S.C. § 2251(a).

18 U.S.C. § 2251(e)

12

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 13 of 35

COUNT NINE
(Sexual Exploitation of a Child)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs | through 13 of the General Allegations of Count Eight of this Second
Superseding Indictment are incorporated here.

2. From on or about June 3, 2021, through in or about July 6, 2021, in the District of
Maryland, the Middle District of Florida, and elsewhere, the defendant,

JOHN W. BALCH,

knowingly attempted to and did employ, use, persuade, induce, entice, and coerce a Minor Victim
2, a prepubescent minor male to engage in sexually explicit conduct as defined in Title 18, United
States Code, Section 2256(2), for the purpose of producing visual depictions of such conduct,
knowing and having reason to know that such a visual depiction would be transported and
transmitted using any means and facility of interstate and foreign commerce, that is, BALCH
asked TIBBS to produce images of Minor Victim 2 engaged in sexually explicit conduct and to
send the images to BALCH using email and the internet.

18 U.S.C. §§ 2251(a) & 2256
18 U.S.C. § 2

13

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 14 of 35

COUNTS TEN THROUGH NINETEEN
(Sexual Exploitation of a Child)

The Grand Jury for the District of Maryland further charges that:

L. Paragraphs | through 13 of the General Allegations of Count Eight of this Second
Superseding Indictment are incorporated here.

2. On or about the dates listed below, each being a separate count, in the District of
Maryland and elsewhere, the defendant,

JOHN W. BALCH, and
ASHLEY MARIE TIBBS,

knowingly attempted to and did employ, use, persuade, induce, entice, and coerce a minor female
to engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),
for the purpose of producing visual depictions of such conduct, knowing and having reason to
know that such a visual depiction would be transported and transmitted using any means and
facility of interstate and foreign commerce, said visual depictions were produced and transmitted
using materials that were mailed, shipped, and transported in interstate and foreign commerce by
any means, including by computer, and such visual depictions have actually been transported and
transmitted using any means and facility of interstate and foreign commerce and in and affecting

interstate and foreign commerce, as follows:

Count Date Details

A series of 2 video files, titled “20210706_114117.mp4” and
10 July 6, 2021 “20210706 _114047.mp4”, depicting an adult hand inserted into
and touching a prepubescent female’s exposed genitals.

A video file, “titled 20210706 _172801.mp4”, depicting an adult
hand rubbing a prepubescent female’s exposed genitals.

A video file, titled “20210713 _140024.mp4”, depicting an adult
hand touching a prepubescent female’s genitals.

A series of 2 video files, titled, “2021080995091419.mp4”, and
13 August 9, 2021 | “2021080995091603.mp4”, depicting an adult hand touching the
exposed genitals of a prepubescent female.

11 July 6, 2021

(2 July 13, 2021

14

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 15 of 35

Count Date Details
A series of 2 image files, titled “201140” and “201246”,
14 July 19,2022 | depicting a prepubescent female, nude from the waist down,

standing in a bathtub, with her genitals visible.

A series of 2 image files titled “160812” and “160759”, one
depicting a prepubescent female’s exposed genitals and one
depicting an adult hand touching the prepubescent female’s
exposed genitals.

15 July 20, 2022

A series of 2 image files and one video file titled “24229”,
16 July 21,2022 | “124313” and “124358”, depicting and adult hand touching a

prepubescent female’s exposed genitals.

A video file partially titled “094442”, depicting an adult hand
17 July 28,2022 | touching and penetrating a prepubescent female’s exposed
genitals.

A series of 3 video files partially titled, “816 001.mp4”,
“094529. mp4”, and “094529 001.mp4”, depicting an adult

18 July 28,2022 | female’s mouth on a prepubescent female’s exposed genitals, and
an adult hand touching the prepubescent female’s exposed
genitals.

A series of 2 video files titled, “617_001.mp4” and
“617_002.mp4” depicting an adult hand touching a prepubescent
19 August 11, 2022 | female’s exposed genitals and the adult’s mouth touching and
simulating the touching the prepubescent female’s exposed
genitals.

said image files having been produced on a Samsung Galaxy A21 cellphone, Model A216U1, S/N:

R9ANA1036KJ, manufactured outside Maryland.

18 U.S.C. §§ 2251(a) & 2256
18 U.S.C. §2

15

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 16 of 35

COUNTS TWENTY THROUGH TWENTY-TWO
(Distribution of Child Pornography)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs | through 13 of the General Allegations of Count Eight of this Second
Superseding Indictment are incorporated here.

2. On or about July 29, 2022, in the District of Maryland, the Middle District of
Florida, and elsewhere, the defendant,

ASHLEY MARIE TIBBS,

did knowingly distribute any visual depiction using any means and facility of interstate and foreign
commerce, and that had been mailed, shipped and transported in and affecting interstate and
foreign commerce, and which contained materials which had been so mailed, shipped and
transported, by any means including by computer, the production of which involved the use of a
minor engaged in sexually explicit conduct, as defined in Title 18, United States Code, Section
2256(2), and such depiction being of such conduct, that is, TIBBS used email and the internet to

distribute the following:

Count Details

A video, titled “20220728 094529.mp4”, depicting a prepubescent
20 female nude and partially nude, while TIBBS places her mouth and hand
on the prepubescent female’s genitals.

A video, titled, “20220728 094529 001.mp4”, depicting a prepubescent
21 female nude and partially nude, while TIBBS places her mouth and hand
on the prepubescent female’s genitals.

A video, titled, 20220728 094442.mp4”, depicting a prepubescent
22 female nude and partially nude, while TIBBS places a hand on the
prepubescent female’s genitals.

18 U.S.C. 8§ 2252(a)(2) & 2256
18 U.S.C. § 2

16

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 17 of 35

COUNTS TWENTY-THREE THROUGH TWENTY-FIVE
(Receipt of Child Pornography)

The Grand Jury for the District of Maryland further charges that:

L. Paragraphs | through 13 of the General Allegations of Count Eight of this Second
Superseding Indictment are incorporated here.

2. On or about July 29, 2022, in the District of Maryland, the Middle District of
Florida, and elsewhere, the defendant,

JOHN W. BALCH,

did knowingly receive any visual depiction using any means and facility of interstate and foreign
commerce, and that had been mailed, shipped and transported in and affecting interstate and
foreign commerce, and which contained materials which had been so mailed, shipped and
transported, by any means including by computer, the production of which involved the use of a

minor engaged in sexually explicit conduct and such depiction being of such conduct, as follows:

Count Details

A video, titled “20220728 094529.mp4”, depicting a prepubescent
23 female nude and partially nude, while TIBBS places her mouth and hand
on the prepubescent female’s genitals.

A video, titled, “20220728 094529 001.mp4”, depicting a prepubescent
24 female nude and partially nude, while TIBBS places her mouth and hand
on the prepubescent female’s genitals.

A video, titled, 20220728 094442.mp4”, depicting a prepubescent
25 female nude and partially nude, while TIBBS places a hand on the
prepubescent female’s genitals.

18 U.S.C. §§ 2252(a)(2) & 2256
18 U.S.C. § 2

17

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 18 of 35

COUNT TWENTY-SIX
(Possession of Child Pornography)

The Grand Jury for the District of Maryland further charges that:
On or about August 15, 2022, in the District of Maryland, the defendant,
ASHLEY MARIE TIBBS,

did knowingly possess any material that contained an image of child pornography, as defined in
Title 18, United States Code, Section 2256(8)(A), which image had been mailed, shipped, and
transported using any means and facility of interstate and foreign commerce and in and affecting
interstate and foreign commerce by any means, including by computer, and which was produced
using materials that had been mailed, shipped, and transported in and affecting interstate and
foreign commerce by any means, including by computer, that is, the defendant possessed a
Samsung Galaxy A21 cellphone, Model SM-A215U1, S/N: R9ANA1036KJ, manufactured
outside Maryland, containing one or more visual depictions of prepubescent minors engaged in
sexually explicit conduct.

18 U.S.C. §§ 2252A(a)(5)(B) & 2256
18 U.S.C. § 2

18

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 19 of 35

COUNT TWENTY-SEVEN
(Conspiracy to Commit Transportation of a Minor)

The Grand Jury for the District of Maryland further charges that:

General Allegations

At all times material to this Second Superseding Indictment:

1. JOHN W. BALCH (“BALCH”) was born in 1947, and resided in Jacksonville,
Florida.

2s CO-CONSPIRATOR #1 was born in 1982 and resided in Martinsburg, West
Virginia.

3. Minor Victim 5, a minor female, was born in 2006, and was 15 years old or younger
at all times relevant to the Second Superseding Indictment.

4, From approximately July 2021 through January 2023, BALCH and CO-
CONSPIRATOR #1 communicated on mobiles phones using texting applications and email
regarding the exploitation of Minor Victim 5.

5. Beginning in approximately July 2021 and continuing through approximately
January 2023, BALCH used the internet, mobile phones, and email to persuade, induce, entice,
and coerce Minor Victim 5 to engage in sexual activity for which any person can be charged with
a criminal offense, and to engage in sexually explicit conduct.

6. Beginning no later than July 2021 and continuing through at least in or about
January 2023, BALCH traveled from Florida to Hagerstown, Maryland. BALCH paid CO-
CONSPIRATOR #1 to transport Minor Victim 5 from West Virginia to Hagerstown Maryland
where BALCH engaged in sexual activity with Minor Victim 5.

7. During these internet-based communications, BALCH caused, and attempted to
cause, CO-CONSPIRATOR #1 to transport Minor Victim 5 from West Virginia to Maryland to

engage in sex acts with BALCH.
19

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 20 of 35

8. During these internet-based communications, BALCH caused, and attempted to
cause, CO-CONSPIRATOR #1 to produce visual depictions that depicted Minor Victim 5
engaged in sexually explicit conduct.

Manner and Means of the Conspiracy

2. It was part of the conspiracy that BALCH promised to pay and did pay CO-
CONSPIRATOR #1 to transport Minor Victim 5 from West Virginia to Hagerstown, Maryland
to engage in sexual acts with BALCH.

10. It was further part of the conspiracy that BALCH engaged in sexual acts with
Minor Victim 5 in Maryland.

11. It was further part of the conspiracy that BALCH paid CO-CONSPIRATOR #1
to produce sexually explicit images of Minor Victim 5.

12. It was further part of the conspiracy that BALCH instructed CO-CONSPIRATOR
#1 to send the images to BALCH using email and the internet.

13. It was further part of the conspiracy that BALCH promised to pay and did pay
money to CO-CONSPIRATOR #1 in exchange for the files of Minor Victim 5.

14. It was further part of the conspiracy that CO-CONSPIRATOR #1 produced
images of Minor Victim 5’s genitals and sent these files via her cellular phone to BALCH who
saved them to his mobile phone.

The Charge

15. From on or about July 2021 through on or about January 2023, in the District of
Maryland, the Northern District of West Virginia, the Middle District of Florida, and elsewhere,
the defendant,

JOHN W. BALCH,

conspired and agreed with one another to transport Minor Victim 5, an individual who had not

20

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 21 of 35

attained the age of 18 years in interstate commerce, with intent that Minor Victim 5 engage in
sexual activity for which any person can be charged with a criminal offense, namely, Maryland

Criminal Law § 3-307, sexual offense in the third degree, in violation of 18 U.S.C. § 2423(a).

18 U.S.C. § 2423(e)

21
Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 22 of 35

COUNT TWENTY-EIGHT
(Transportation of a Minor)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs | through 14 of the General Allegations of Count Twenty-Seven of this
Second Superseding Indictment are incorporated here.

Ds From on or about July 2021 through on or about January 2023, in the District of
Maryland, the Northern District of West Virginia, the Middle District of Florida, and elsewhere,
the defendant,

JOHN W. BALCH,
did knowingly transport Minor Victim 5, an individual who had not attained the age of 18 years in
interstate commerce, with intent that Minor Victim 5 engage in sexual activity for which any
person can be charged with a criminal offense, namely, Maryland Criminal Law § 3-307, sexual
offense in the third degree.

18 U.S.C. § 2423(a)
18 U.S.C. §2

22
Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 23 of 35

COUNT TWENTY-NINE
(Conspiracy to Commit Sexual Exploitation of a Child)

The Grand Jury for the District of Maryland further charges that:

I. Paragraphs | through 14 of the General Allegations of Count Twenty-Seven of this
Second Superseding Indictment are incorporated here.

2. From on or about July 2021 through on or about September 2022, in the District of
Maryland, the Northern District of West Virginia, the Middle District of Florida, and elsewhere,
the defendant,

JOHN W. BALCH,
conspired and agreed with CO-CONSPIRATOR #1 to employ, use, persuade, induce, entice, and
coerce any minor to engage in sexually explicit conduct for the purpose of producing visual
depictions of such conduct, knowing and having reason to know that such a visual depiction would
be transported and transmitted using any means and facility of interstate and foreign commerce,
said visual depictions were produced and transmitted using materials that were mailed, shipped,
and transported in interstate and foreign commerce by any means, including by computer, and such
visual depictions have actually been transported and transmitted using any means and facility of

interstate and foreign commerce and in and affecting interstate and foreign commerce, in violation

of 18 U.S.C. § 2251(a).

18 U.S.C. § 2251(e)
18 U.S.C. § 2

23

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 24 of 35

COUNT THIRTY
(Sexual Exploitation of a Child)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs | through 14 of the General Allegations of Count Twenty-Seven of this
Second Superseding Indictment are incorporated here.

2. On or about March 23, 2022, in the District of Maryland, the Northern District of
West Virginia, and elsewhere, the defendant,

JOHN W. BALCH,

knowingly attempted to and did employ, use, persuade, induce, entice, and coerce a minor female
to engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),
for the purpose of producing visual depictions of such conduct, knowing and having reason to
know that such a visual depiction would be transported and transmitted using any means and
facility of interstate and foreign commerce, said visual depictions were produced and transmitted
using materials that were mailed, shipped, and transported in interstate and foreign commerce by
any means, including by computer, and such visual depictions have actually been transported and
transmitted using any means and facility of interstate and foreign commerce and in and affecting
interstate and foreign commerce, that is, a video file, titled, “Media0”, depicting Minor Victim 5’s
hand touching her exposed genitals.

18 U.S.C. §§ 2251(a) & 2256
18 U.S.C. §2

24

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 25 of 35

COUNT THIRTY-ONE
(Possession of Child Pornography)

The Grand Jury for the District of Maryland further charges that:

On or about July 7, 2017 through on or about November 10, 2022, in the District of
Maryland, the Middle District of Florida, and elsewhere, the defendant,

JOHN W. BALCH,

did knowingly possess any material that contained an image of child pornography, as defined in
Title 18, United States Code, Section 2256(8)(A), which image had been mailed, shipped, and
transported using any means and facility of interstate and foreign commerce and in and affecting
interstate and foreign commerce by any means, including by computer, and which was produced
using materials that had been mailed, shipped, and transported in and affecting interstate and
foreign commerce by any means, including by computer, that is, the defendant did maintain an
AOL internet-based email account affiliated with the email addresses “interlaken@aol.com,”
which account contained one or more visual depictions of prepubescent minors engaged in

sexually explicit conduct.

18 U.S.C. 8§ 2252A(a)(5)\(B) & 2256

25
Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 26 of 35

COUNT THIRTY-TWO
(Possession of Child Pornography)

The Grand Jury for the District of Maryland further charges that:

On or about January 18, 2023, in the District of Maryland, the Middle District of Florida,
and elsewhere, the defendant,

JOHN W. BALCH,

did knowingly possess any material that contained an image of child pornography, as defined in
Title 18, United States Code, Section 2256(8)(A), which image had been mailed, shipped, and
transported using any means and facility of interstate and foreign commerce and in and affecting
interstate and foreign commerce by any means, including by computer, and which was produced
using materials that had been mailed, shipped, and transported in and affecting interstate and
foreign commerce by any means, including by computer, that is, that is, the defendant possessed a
Samsung $21 Ultra 5G, S/N: RSCR50DRG2J, manufactured outside Maryland, containing one or

more visual depictions of prepubescent minors engaged in sexually explicit.

18 U.S.C. §§ 2252A(a)(5)(B) & 2256

26

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 27 of 35

COUNT THIRTY-THREE
(Conspiracy to Commit Sexual Exploitation of a Child)

The Grand Jury for the District of Maryland further charges that:

General Allegations

At all times material to this Second Superseding Indictment:

l. JOHN W. BALCH (“BALCH”) was born in 1947, and resided in Jacksonville,
Florida.

2s AMBER LAUREN RICKETTS (“RICKETTS”) was born in 1991 and resided
in Frederick, Maryland.

3. Minor Victim 6, a prepubescent female, was born in 2007, and was 11 to 15 years
old at all times relevant to the Second Superseding Indictment.

4. From at least December 2019 through August 2022, BALCH and RICKETTS
communicated using mobile phones, email, and the internet regarding the exploitation of Minor
Victim 6.

5. Beginning no later than December 2019 and continuing through at least in or about
August 2022, BALCH used a mobile phone, email, and the internet to persuade, induce, entice,
and coerce Minor Victim 6 to engage in sexually explicit conduct. During these internet-based
communications, BALCH caused, and attempted to cause, RICKETTS to produce visual
depictions that depicted Minor Victim 6 engaged in sexually explicit conduct.

Manner and Means of the Conspiracy

6. It was part of the conspiracy that BALCH paid RICKETTS to produce sexually
explicit videos of Minor Victim 6.
Ts It was further part of the conspiracy that BALCH instructed RICKETTS to send

the videos to BALCH using email and the internet.

27

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 28 of 35

8. It was further part of the conspiracy that BALCH promised to pay and did pay
money to RICKETTS in exchange for the files of Minor Victim 6.

9. It was further part of the conspiracy that RICKETTS used her mobile phone and
email to solicit payment from BALCH in exchange for producing sexually explicit files of Minor
6.

10. ‘It was further part of the conspiracy that RICKETTS produced videos of a
prepubescent female’s genitals RICKETTS sent some of these files via the internet and email to
BALCH who saved them on his mobile phone to his AOL internet-based account associated with
the email address “interlaken@aol.com”’.

11. It was further part of the conspiracy that RICKETTS produced images of
prepubescent female’s genitals and RICKETTS sent the file via the internet and email to BALCH
who saved the file on his mobile phone.

The Charge
12. On or about December 16, 2019, the defendants,

JOHN W. BALCH, and
AMBER LAUREN RICKETTS,

conspired and agreed with one another to employ, use, persuade, induce, entice, and coerce any
minor to engage in sexually explicit conduct for the purpose of producing visual depictions of such
conduct, knowing and having reason to know that such a visual depiction would be transported
and transmitted using any means and facility of interstate and foreign commerce, said visual
depictions were produced and transmitted using materials that were mailed, shipped, and
transported in interstate and foreign commerce by any means, including by computer, and such
visual depictions have actually been transported and transmitted using any means and facility of

interstate and foreign commerce and in and affecting interstate and foreign commerce, in violation

of 18 U.S.C. § 2251(a).
28

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 29 of 35

18 U.S.C. § 2251(e)

29

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 30 of 35

COUNT THIRTY-FOUR
(Sexual Exploitation of a Child)

The Grand Jury for the District of Maryland further charges that:

Ls Paragraphs | through 11 of the General Allegations of Count Thirty-Three of this
Second Superseding Indictment are incorporated here.

2. On or about December 16, 2019, in the District of Maryland and elsewhere, the
defendants,

JOHN W. BALCH, and
AMBER LAUREN RICKETTS,

knowingly attempted to and did employ, use, persuade, induce, entice, and coerce a prepubescent
minor female to engage in sexually explicit conduct as defined in Title 18, United States Code,
Section 2256(2), for the purpose of producing visual depictions of such conduct, and said visual
depictions were produced using materials that were mailed, shipped, and transported in interstate
and foreign commerce by any means, including by computer, that is, a series of 12 image files, 4
of which depict the lascivious display of Minor Victim 6’s exposed genitals, said image files
having been stored in the email account associated with email address “interlaken@aol.com”.

18 U.S.C. § 2251 (a) & 2256
18 U.S.C. §2

30

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 31 of 35

COUNTS THIRTY-FIVE
(Distribution of Child Pornography)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs | through 11 of the General Allegations of Count Thirty-Three of this
Second Superseding Indictment are incorporated here.

2. On or about December 16, 2019, in the District of Maryland, the Middle District of
Florida, and elsewhere, the defendant,

AMBER LAUREN RICKETTS,

did knowingly distribute any visual depiction using any means and facility of interstate and foreign
commerce, and that had been mailed, shipped and transported in and affecting interstate and
foreign commerce, and which contained materials which had been so mailed, shipped and
transported, by any means including by computer, the production of which involved the use of a
minor engaged in sexually explicit conduct, as defined in Title 18, United States Code, Section
2256(2), and such depiction being of such conduct, that is, RICKETTS used email and the internet
to distribute a series of 12 image files, 4 of which depict the lascivious display of Minor Victim
6’s exposed genitals, said image files having been stored in the email account associated with
email address “interlaken@aol.com”.

18 U.S.C. §§ 2252(a)(2) & 2256
18 U.S.C. §2

31

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 32 of 35

COUNT THIRTY-SIX
(Receipt of Child Pornography)

The Grand Jury for the District of Maryland further charges that:

3. Paragraphs | through 11 of the General Allegations of Count Thirty-Three of this
Second Superseding Indictment are incorporated here.

4. On or about December 16, 2019, in the District of Maryland, the Middle District of
Florida, and elsewhere, the defendant,

JOHN W. BALCH,

did knowingly receive any visual depiction using any means and facility of interstate and foreign
commerce, and that had been mailed, shipped and transported in and affecting interstate and
foreign commerce, and which contained materials which had been so mailed, shipped and
transported, by any means including by computer, the production of which involved the use of a
minor engaged in sexually explicit conduct and such depiction being of such conduct, that is, a
series of 12 image files, 4 of which depict the lascivious display of Minor Victim 6’s exposed
genitals, said image files having been stored in the email account associated with email address
“interlaken@aol.com”.

18 U.S.C. §§ 2252(a)(2) & 2256
18 U.S.C. § 2

32

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 33 of 35

FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

1. Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the
defendants that the United States will seek forfeiture as part of any sentence in accordance with
18 U.S.C. §§ 2253 and 2428, 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c), in the event of a
defendant’s conviction under any of the offenses alleged in Counts One through Thirty-Two of
this Second Superseding Indictment.

Child Pornography Forfeiture

2. Upon conviction of any of the offenses set forth in Counts One, Two, Three through
Twenty-Six, or Twenty-Nine through Thirty-Six of this Second Superseding Indictment, the
defendant,

JOHN W. BALCH,
JANE ELLEN CAMPBELL,

ASHLEY MARIE TIBBS, and
AMBER LAUREN RICKETTS,

shall forfeit to the United States, pursuant to 18 U.S.C. § 2253(a):

a. any visual depiction described in Title 18, United States Code, Sections, 2251,
2251A, 2252, or 2252A, 2252B, or 2260 or any book, magazine, periodical, film, videotape, or
other matter which contains any such visual depiction, which was produced, transported, mailed,
shipped, received or possessed in violation of Title 18, United States Code, Chapter 110;

b. any property, real or personal, constituting or traceable to gross profits or other
proceeds obtained from such offense; and

c. any property, real or personal, used or intended to be used to commit or to promote

the commission of such offense or any property traceable to such property.

33

Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 34 of 35

Coercion and Enticement Forfeiture

3. Upon conviction of any of the offenses set forth in Counts Three or Twenty-
Seven through Twenty-Eight of this Second Superseding Indictment, the defendant,
JOHN W. BALCH,

shall forfeit to the United States, pursuant to 18 U.S.C. § 2428:

a. Any property, real or personal, that was used or intended to be used to
commit or to facilitate the commission of such offenses; and

b. Any property, real or personal, constituting or derived from any proceeds
that the defendant obtained, directly or indirectly, as a result of such offenses.

Property Subject to Forfeiture

4. The property to be forfeited includes, but is not limited to, the following:
a. Samsung S21 Ultra 5G, S/N: RSCRSO0ODRG2J; and
b. Samsung Galaxy A21, Model SMA215U1, S/N R9ANA1036KJ

Substitute Assets

5. If, as a result of any act or omission of the defendant, any of the property

described above as being subject to forfeiture:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

G has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided
without difficulty,

34
Case 1:23-cr-00036-JKB Document 59 Filed 06/28/23 Page 35 of 35

the United States shall be entitled to forfeiture of substitute property up to the value of the
forfeitable property described above pursuant to 21 U.S.C. § 853(p), as incorporated by 18
U.S.C. § 2253(b) and 28 U.S.C. § 2461(c).

18 U.S.C. § 2253
18 U.S.C. § 2428
21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)

SKC Bonn [PO

Erek L. Barron
United States Attorney

A TRUE BILL

SIGNATURE REDACTED

Foreperson

Date: June 2¥ , 2023

35

